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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                                          :
JACOB CORMAN, et al.,                                     :
                                                          :     No. 1:18-cv-00443-CCC
                                Plaintiffs,               :
                                                          :     (filed electronically)
              v.                                          :
                                                          :     Chief Judge Conner
ROBERT TORRES, et al.,                                    :     Judge Jordan
                                                          :     Judge Simandle
                                Defendants.               :
                                                          :
                                                          :

               BRIEF OF AMICI CURIAE, BRIAN MCCANN et al.

          Amici Curiae, Brian McCann et al.,1 (“Amici”) by their undersigned

  counsel, respectfully submit this brief in connection with Plaintiff’s

  Complaint for a preliminary injunction.

          It is the General Assembly’s duty under Article I, Section 4 of the

  United States Constitution to draw congressional districts because it is an

  inherently political task.              Because the Pennsylvania Supreme Court’s

  remedial map (attached to its Order dated February 19, 2018) is not the

  result of a measured political process, it has caused statewide confusion at
  1
    Brian McCann, Daphne Goggins, Carl Edward Pfeifer, Jr., Michael Baker, Cynthia Ann Robbins, Ginny
  Steese Richardson, Carol Lynne Ryan, Joel Sears, Kurtes D. Smith, C. Arnold McClure, Karen C. Cahilly,
  Vicki Lightcap, Wayne Buckwalter, Ann Marshall Pilgreen, Ralph E. Wike, Martin C.D. Morgis, Richard
  J. Tems, James Taylor, Lisa V. Nancollas, Hugh H. Sides, Mark J. Harris, William P. Eggleston, Jacqueline
  D. Kulback, Timothy D. Cifelli, Ann M. Dugan, Patricia J. Felix, Scott Uehlinger, Brandon Robert Smith,
  Glen Beiler, Tegwyn Hughes, Thomas Whitehead, David Moylan, Kathleen Bowman, James R. Means, Jr.,
  Barry O. Christenson, and Bryan Leib.


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the voter and grass roots level due to last minute boundary changes and

changes in Congressional district numbers.

      The run-up to the May 15, 2018 Pennsylvania Primary Election has

begun. It includes the statutory season for circulating nominating petitions,

followed by the challenges to the nominating petitions, the certification of

candidates for the ballots for the Primary Election, and the mailing of

absentee ballots as well as military and overseas ballots.      By now, all

candidates should know where they are running, and the parties should know

where to circulate nominating petitions, meet voters, target written and

broadcast campaign communications, and request donations. Unfortunately,

everything that the voters, the candidates, and the political parties thought

they knew has been swept away on the eve of the primary by the

Pennsylvania Supreme Court’s remedial map of February 19, 2018, leaving

candidates and the electorate confused about who is running for what

congressional district, what congressional district they reside in, and who

they can vote for in the primary.

      Implementing the Pennsylvania Supreme Court’s map at this time

degrades what is normally a two year campaign cycle for Congress into a

fifty yard dash of less than three months to the Primary. To add to the

public’s confusion, however, the Pennsylvania Supreme Court’s remedial



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map renumbers all of the Districts. Even more troublesome is the fact that

the Pennsylvania Supreme Court’s remedial map does not show the specific

vote tabulation districts in each Congressional District. This is a particular

source of confusion for candidates and their active supporters, such as the

Amici, because the SURE system was not timely updated by the

Pennsylvania Department of State.         While the Department of State is

supposed to fill that information in, the circulation of nomination petitions

has begun, and the voters, candidates, and their nomination petition

circulators are at a loss as to the precise vote tabulation districts within each

congressional district. The lack of clarity concerning who is included in

each district makes circulating the nomination petitions very difficult and

will likely lead to numerous challenges that will involve the courts and

further reduce the period to campaign. To add to this confusion, under the

remedial map, many voters may live in a different district than their current

member of Congress. They face an election with candidates with whom

they are not familiar.

      By way of example, the incumbent Congressman for the 4 th

Congressional District, Scott Perry has advised Amici’s counsel that many

of his constituents and many of the candidates are unsure what district they

will reside in.    With the nominating petition process under way, his



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Congressional and campaign offices are being deluged by citizens who are

confused and concerned.2

        According to the Chair of the Monroe County Republican Committee,

Amicus Thomas Whitehead, congressional campaigns start as soon as the

last campaign for Congress ends. Intervenor Whitehead believes changing

the congressional district boundaries will negate much, if not all, of the

activities that he has undertaken in connection with the 2018 congressional

elections, including recruiting candidates, volunteers, and donors; organizing

grassroots activities; creating public political communications in support of

congressional candidates; and, allocating campaigning activities and county

committee resources amongst other candidates on the ballot.

        Local political parties begin recruiting and training volunteers in

January to circulate nomination petitions for congressional candidates. The

county parties hold events to circulate nomination petitions in February of an

election year.         As a result of the reconfiguration of all Congressional

Districts and the delay in implementation, this opportunity has been lost and

creates a serious impediment to a candidate seeking to secure the necessary

number of signatures to appear on the Primary Election ballot.
2
  Congressman Perry notes that he has raised significant campaign funds from persons who will no longer
be in his district. The Pennsylvania Supreme Court’s remedial map also disrupts ongoing projects ranging
from community development programs (e.g., firefighter grants, library funding, job training and workforce
development funds and agricultural initiatives) to assisting constituents on highly detailed and sensitive
issues ranging from Social Security, Medicare, Veteran, IRS and other federal programs. These citizens
will be impacted severely if they are forced to start over with a new Member of Congress.


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      Changing congressional districts before or after the nomination

petition circulation period confuses voters. Amicus Lynne Ryan believes

that changing congressional districts during the nomination petition

circulation period could cause a higher risk that a voter may sign a

nomination petition for the wrong district. She believes that there is not

enough time to inform voters of a change in congressional districts before

nomination petitions begin circulation. She likens a change in congressional

districts to changes in a voter’s polling place: it would take time to educate

voters of a change in the political and election process, similar to efforts to

inform voters when their polling place changes at or near an election.

      Changing congressional districts during the nomination petition

circulation period could cause a higher risk that voters may sign a

nomination petition for the wrong district. A voter may sign a nomination

petition for only one candidate per office. Thus, if a voter is moved to a new

congressional district and signs a nomination petition for her old district, not

only is her signature invalid, but she cannot sign a second petition in her new

district either, thereby effectively eliminating her rights. This could increase

the number of objections to nomination petitions, thus increasing the burden

on the courts and further delaying the identity of candidates for the primary

election ballots.



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        The delayed nomination petition circulation period for Congressional

candidates has also directly impacted the special election for the 18th

Congressional District.    Governor Wolf issued a writ to hold a special

election for the vacancy in the current 18th Congressional District on March

13, 2018.     The special election will be held a mere fifteen days after

petitions begin to circulate for the election for the redrawn 18th

Congressional District – now the 14th, 17th and 18th Districts -- in November

2018.    Thus, the special election campaign will take place during the

circulation of nomination petitions for the primary election, yet at least one

of the candidates in the Special Election Rick Saccone, no longer lives in a

substantial portion of this district as it has been redrawn by the remedial

map. Voters may not support his candidacy in the Special Election knowing

he will not be on the ballot in November. Furthermore, voters will be

confused because he will run in a different district in the primary in May.

This will also create confusion in gathering signatures for his nomination

petition for the primary and general election.

        For these reasons, this Court may wish to consider the effect of the

Pennsylvania Supreme Court’s remedial map in deciding whether the

Elections Clause permits a state’s Supreme Court to substitute its judgment




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for that of the state’s legislature with respect to redrawing Congressional

districts on a claim of partisan gerrymander.

      Amici curiae Brian McCann et al. are prepared to support the factual

assertions in this brief by way of affidavits and live testimony at the Hearing

scheduled for March 9, 2018, if allowed by the Court to do so. Information

concerning the separate election calendars for members of Congress, for all

offices other than members of congress, and for the special election for the

18th District is provided in Exhibit 2, along with a summary of the statutory

requirements for valid nomination petitions.

                                       Respectfully,


                                       /s/ Lawrence J. Tabas
                                       Lawrence J. Tabas, Esq.
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                                       rebecca.warren@obermayer.com

Dated: March 1, 2018




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                     EXHIBIT 1




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Name (District)           Proposed Amici Curiae
Brian McCann (CD-01)      Proposed amicus curiae Brian McCann has been a
                          registered Republican for over a decade and remains an
                          active member in the Republican Party, serving as both
                          the Committeeperson for the 65th Ward and the Ward
                          Leader for the 57th Ward of the 1st Congressional
                          District.
Daphne Goggins (CD-02)    Proposed amicus curiae Daphne Goggins resides in
                          Philadelphia County in the 2nd Congressional District.
                          Since turning 18, Ms. Goggins has been a registered
                          Republican and remains an active member in the Party,
                          serving as the Ward Leader for the 16th Ward of the
                          2nd Congressional District.
Michael Baker (CD- 03)    Proposed amicus curiae Michael Baker is a registered
                          Republican voter who resides in the 3rd Congressional
                          District in Armstrong County. Mr. Baker serves as the
                          Chairman for the Republican Party of Pennsylvania’s
                          Southwest Caucus. Mr. Baker, along with his fellow
                          Caucus Chairmen, has invested significant time and
                          resources developing relationships with congressmen in
                          his district. A sudden redrawing of the Congressional
                          Districts would nullify the past work of Mr. Baker and
                          his colleagues. Furthermore, such rash action would
                          undermine their current and future work in preparing for
                          the rapidly approaching midterm elections.

Cynthia Ann Robbins       Proposed amicus curiae Cynthia Ann Robbins is a
(CD-03)                   registered Republican who resides in the 3rd
                          Congressional District in Mercer County. Ms. Robbins
                          serves as the State Committeewoman for the Mercer
                          County Republican Party.
Ginny Steese Richardson   Proposed amicus curiae Ginny Steese Richardson is a
(CD-3)                    registered Republican voter who resides in the 3rd
                          Congressional District in Mercer County. After 24 years
                          of service, Ms. Richardson recently announced her
                          retirement as the Treasurer of Mercer County. Ms.
                          Richardson also serves as the Republican Party
                          chairman for Mercer County and secretary of the
                          Mercer County Grange Fair.

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Lynne Ryan (CD-3)         Proposed amicus curiae Lynne Ryan is a registered
                          Republican voter who resides in the 3rd Congressional
                          District in Lawrence County. Ms. Ryan serves as the
                          State Committeewoman for the Lawrence County
                          Republican Party.
Joel Sears (CD-04)        Proposed amicus curiae Joel Sears is a registered
                          Republican voter who resides in the 4th Congressional
                          District in York County. Mr. Sears is a former School
                          Director in the York Suburban School District. Mr.
                          Sears remains active in local politics.
Kurtes D. Smith (CD-05) Proposed amicus curiae Kurtes D. Smith is a registered
                          Republican voter who resides in the 5th Congressional
                          District in Clinton County. Mr. Smith serves as the
                          County Chairman for the Republican Party of Clinton
                          County.
C. Arnold McClure         Proposed amicus curiae C. Arnold McClure is a
(CD-05)                   registered Republican voter who resides in the 5th
                          Congressional District in Huntingdon County. Mr.
                          McClure serves as the County Chairman for the
                          Republican Party of Huntingdon County.
Karen C. Cahilly          Proposed amicus curiae Karen C. Cahilly is a registered
(CD-05)                   Republican voter who resides in the 5th Congressional
                          District in Potter County. Ms. Cahilly serves as the
                          County Chairwoman for the Republican Party of Potter
                          County.
Vicki J. Lightcap (CD-06) Proposed amicus curiae Vicki Lightcap serves as the
                          Mayor of Pennsburg, Pennsylvania. Ms. Lightcap, a
                          registered Republican, resides in the 6th Congressional
                          district.
Ann Marshall Pilgreen     Proposed amicus curiae Ann Marshall Pilgreen is a
(CD-07)                   registered Republican voter who resides in the 7th
                          Congressional District in Montgomery County. Ms.
                          Pilgreen remains active in local politics.
Martin C.D. Morgis        Proposed amicus curiae Martin C.D. Morgis is a
(CD-08)                   registered Republican voter who resides in the 8th
                          Congressional District in Bucks County.
Richard J. Tems           Proposed amicus curiae Richard J. Tems is a registered
(CD-08)                   Republican voter who resides in the 8th Congressional
                          District in Bucks County.


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James Taylor (CD-09)       Proposed amicus curiae James Taylor is a registered
                           Republican voter who resides in the 9th Congressional
                           District in Franklin County. Mr. Taylor previously
                           served as Chairman for the Republican Party of
                           Franklin Party.
Lisa V. Nancollas          Proposed amicus curiae Lisa V. Nancollas is a
(CD 10)                    registered Republican voter who resides in the 10th
                           Congressional District in Mifflin County.

Carl Edward Pfeifer, Jr.   Proposed amicus curiae Carl Edward Pfeifer, Jr. is a
(CD 2)                     registered Republican voter residing in the 2nd
                           Congressional District in Montgomery County, and an
                           active member of the Republican Party.
Hugh H. Sides (CD 10)      Proposed amicus curiae Hugh H. Sides is a registered
                           Republican voter who resides in the 10th Congressional
                           District in Lycoming County.
Mark J. Harris (CD 10)     Proposed amicus curiae Mark J. Harris is a registered
                           Republican voter who resides in the 10th Congressional
                           District in Snyder County. Mr. Harris is a former
                           chairman of the Snyder County Republican Party. Mr.
                           Harris remains active in local politics.

Wayne Buckwalter (CD       Proposed amicus curiae Wayne Buckwalter is a
6)                         registered Republican voter residing in the 6th
                           Congressional District in Chester County, and an active
                           member of the Republican Party
William P. Eggleston       Proposed amicus curiae William P. Eggleston is a
(CD-11)                    registered Republican voter who resides in the 11th
                           Congressional District in Wyoming County. Mr.
                           Eggleston served as the Wyoming County Auditor.
Ralph E. Wike (CD 7)       Proposed amicus curiae Ralph E. Wike is a registered
                           Republican voter residing in the 7th Congressional
                           District in Delaware County, and an active member of
                           the Republican Party.
Timothy D. Ciffeli         Proposed amicus curiae Timothy D. Cifelli serves as the
(CD-13)                    President and COO of DDCworks, a public relations
                           firm. Mr. Cifelli, a registered Republican, resides in
                           Philadelphia County in the 13th Congressional District.
Ann M. Dugan (CD-14)       Proposed amicus curiae Ann Dugan is the founder of


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                            the Institute for Entrepreneurial Excellence University
                            of Pittsburgh. Ms. Dugan, a registered Republican,
                            resides in Allegheny County in the 14th Congressional
                            District.
Patricia J. Felix (CD-15)   Proposed amicus curiae Patricia J. Felix resides in
                            Northampton County in the 15th Congressional District.
                            Prior to her retirement in 2003, Ms. Felix worked as a
                            Senior Sourcing Specialist for Bethlehem Steel
                            Corporation. Initially a registered Democrat, Ms. Felix
                            has been a registered Republican since 1980 and
                            remains an active member in the Party.
Scott Uehlinger (CD-15)     Proposed amicus curiae Scott Uehlinger is a registered
                            Republican voter who resides in the 15th Congressional
                            District in Berks County. Mr. Uehlinger, a US Service
                            Academy graduate, served ten years in both the US
                            Navy and merchant service before beginning a career in
                            the Central Intelligence Agency (CIA).
Tegwyn Hughes (CD-17)       Proposed amicus curiae Tegwyn Hughes is a registered
                            Republican voter who resides in the 17th Congressional
                            District in Northampton County. Mr. Hughes serves as
                            a Member of the Republican County Committee for
                            Washington Township.
James R. Means, Jr.         Proposed amicus curiae James R. Means, Jr. is a
(CD18)                      registered Republican voter who resides in the 18th
                            Congressional District in Allegheny County.
Barry O. Christenson        Proposed amicus curiae Barry O. Christenson is a
(CD18)                      registered Republican voter who resides in the 18th
                            Congressional District in Allegheny County. Mr.
                            Christenson serves as a School Director for the Bethel
                            Park School District.
Jacqueline D. Kulback       Proposed amicus curiae Jacqueline D. Kulback is a
(CD 12)                     registered Republican voter residing in the 12th
                            Congressional District in Cambria County, and
                            currently serves as the County Chairwoman for the
                            Cambria County Republican Party.
Brandon Robert Smith        Proposed amicus curiae Brandon Robert Smith is a
(CD 16)                     registered Republican voter residing in the 16th
                            Congressional District in Lancaster County, and an
                            active member of the Republican Party.


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Glen Beiler (CD 16)    Proposed amicus curiae Glen Beiler is a registered
                       Republican voter residing in the 16th Congressional
                       District in Lancaster County, and an active member of
                       the Republican Party.
Thomas Whitehead       Proposed amicus curiae Thomas Whitehead is a
(CD 17)                registered Republican voter residing in the 17th
                       Congressional District in Carbon County, the County
                       Chairman for the Republican Party of Monroe County,
                       and an active member of the Republican Party.
David Moylan (CD 17)   Proposed amicus curiae David Moylan is a registered
                       Republican voter residing in the 17th Congressional
                       District in Schuylkill County, who was a former
                       Congressional candidate for the 17th Congressional
                       District and he is a potential Congressional candidate in
                       future elections.
Kathleen Bowman (CD 4) Proposed amicus curiae Kathleen Bowman is a
                       registered Republican voter residing in the 4th
                       Congressional District, and an active member of the
                       Republican Party.
Bryan Leib (CD 1)      Proposed amicus curiae Bryan Leib is a registered
                       Republican residing in the 1st Congressional District,
                       an active member of the Republican Party, and a
                       potential candidate for the 1st Congressional District.




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                     EXHIBIT 2




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Pennsylvania’s primary election is scheduled for May 15, 2018.

To be placed on the primary election ballot, a candidate for the United States House of
Representatives must file a nominating petition containing at least 1,000 valid of electors
residing in the district he desires to represent. 25 P.S. §2872.1(12)

For all elective offices other than Congress, the schedule for filing nomination petitions,
for gathering signatures, and for mailing absentee ballots to military personnel is:

               Nomination petitions must be filed on or before the tenth Tuesday before
               the primary election. 25 P.S. §2873(d). This year, the tenth Tuesday falls
               on March 6, 2018. The time allowed for gathering signatures is February
               13 to March 6, or three weeks. 25 P.S. §2868.

               The last day for objections to nominating petitions is the seventh day after
               the last day for filing. 25 P.S. §2937. This year, the seventh day falls on
               March 13, 2018.

               Absentee ballots are to be mailed to military personnel not less than fifty
               days before the primary election and to non-military personnel not less
               than 45 days before the primary. 25 P.S. §3146.5(a). This year, the
               fiftieth day falls on March 26, 2018, and the forty-fifth day falls on
               Saturday March 31 and rolls over to Monday April 2.

For Congressional candidates only, the court-ordered schedule is:

               Nomination petitions must be filed on or before March 20. The time
               allowed for gathering signatures is February 27 to March 20, or three
               weeks – but a different three week period than for all other offices. As a
               result, the opportunity for congressional candidates to participate in
               normal petition signing events where electors can sign petitions for every
               primary candidate is severely curtailed if not eliminated.

               The last day for objections to nominating petitions is March 27.

               Absentee ballots for Congressional candidates are to be mailed to military
               personnel and others by March 30.

A third calendar applies to the special election to replace Congressman Tim Murphy in
the 18th District until January 20, 2018. The special election is scheduled for March 13,
2018. Nomination papers had to be filed on or before January 22, 2018, and objections
had to be filed on or before January 25, 2018. The current boundaries of this district have
been redrawn under the remedial map ordered by the Pennsylvania Supreme Court, and
the redrawn 18th District does not overlap the current 18th District.




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The requirements for nomination petition signatures are:

       Signers must be qualified electors and duly enrolled members of the party on
       behalf of which the candidate is running. 25 P.S. §§2867, 2868.

       He or she must be a qualified elector of the political district identified on the
       nominating petition. 25 P.S. §2868.

       He or she must provide his or her place of residence, “giving city, borough or
       township with street and number, if any.” 25 P.S. §2868.

       He or she must provide the date of signing, which must be no earlier than the
       thirteenth Tuesday before the primary and no later than the tenth Tuesday before
       the primary. 25 P.S. §2868.

       Each page of the nomination petition must carry the circulator’s affidavit stating:
              (a) that he or she is a qualified elector duly registered and enrolled as a
              member of the designated party of the State, or of the political district, as
              the case may be, referred to in said petition, unless said petition relates to
              the nomination of a candidate for a court of common pleas, for the
              Philadelphia Municipal Court or for the Traffic Court of Philadelphia or
              for justice of the peace, in which event the circulator need not be a duly
              registered and enrolled member of the designated party;
              (b) his residence, giving city, borough or township, with street and
              number, if any;
              (c) that the signers thereto signed with full knowledge of the contents of
              the petition;
              (d) that their respective residences are correctly stated therein;
              (e) that they all reside in the county named in the affidavit;
              (f) that each signed on the date set opposite his name; and
              (g) that, to the best of affiant's knowledge and belief, the signers are
              qualified electors and duly registered and enrolled members of the
              designated party of the State, or of the political district, as the case may
              be.

The qualification of electors is governed by 25 P.S. §§2811-2812.

The residence of electors is governed by 25 P.S. §§2813-2814.

An elector of the candidate’s party and the party itself may object to a candidate’s
nomination petition. A person registered in a party other than that of the candidate
cannot vote in the candidate’s primary election, 25 P.S. §2832, and lacks standing to
object to the candidate’s nomination petition.




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Signatures on a nomination petition can be challenged for lack of authenticity, for lack
qualification to vote, for incorrect or inauthentic accompanying information, or for
residence outside the political district identified on the nomination petition.

A nominating petition can be challenged for failure to file a circulator’s affidavit, for the
circulator’s failure to sign the affidavit before a notary, or for lack of knowledge that the
individual signers signed with full knowledge of the contents of




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